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 3
     Attorney for Defendant
 4   RAJINDER DHILLON
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 6
 7                          IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          )   Case No: 2:12-cr-00300-MCE
                                                        )
11                  Plaintiff,                          )   STIPULATION AND ORDER RE: TRAVEL
                                                        )
12          vs.                                         )
                                                        )   Date: N/A
13   RAJINDER KAUR DHILLON I,                           )   Time: N/A
                                                        )   Courtroom: Honorable MORRISON C.
14                  Defendant.                          )   ENGLAND JR.
                                                        )
15                                                      )
                                                        )
16                                                      )
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18
            It is hereby stipulated by and between the parties and their respective counsel, Assistant U.S.
19
     Attorney Jared Dolan for the United States and Patrick K. Hanly for the defendant, RAJINDER
20
     DHILLON I, that Mrs. Dhillon may travel to India in May of 2014 for four weeks. The Probation
21
     Officer assigned to supervise Mrs. Dhillon say she is in full compliance with her probation obligations.
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                                             STIPULATION RE TRAVEL
             Case 2:12-cr-00300-MCE Document 153 Filed 04/03/14 Page 2 of 2

            Dated: 3/31/ 2014                        /s/ Jared Dolan
 1                                                   Assistant United States Attorney
 2
            Dated: 3/31/ 2014                        /s/ Patrick K. Hanly
 3                                                   Attorney for Defendant Rajinder Dhillon

 4
 5                                            ORDER

 6          IT IS SO ORDERED.

 7   Dated: April 2, 2014
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                                     STIPULATION RE TRAVEL
